UNITED STATES OF AMERICA,

 

DIA > 5 -
Case 2:07-cr-01048-VBF OU I Oe ROU Page 10f1 Page ID #:72

 

 

Plaintiff,
vs.

 

NOTICE DIRECTING DEFENDANT TO APPEAR FOR

Defendant.

|
|
|
Lashawn Andrea Lynch ARRAIGNMENT ON INDICTMENT/INFORMATION
|
|

“955 BE, Temple Street

 

YOU ARE HEREBY NOTIFIED AND DIRECTED to appear before United States Magistrate Judge
, United States Courthouse located at:

 

 
   

 
  

estern Division 1 Eastern Division

reed 3470 Twelfth Street
: Floor Courtroom ; Floor

Southern Division
411 W. Fourth Street
Courtroom 341, 3rd Floor Courtroom

Los Angeles, CA 9001

2 Santa Ana, CA 92701 Riverside, CA 92501
at YAO P AM / |: PMon D Ch / 0 Z , at which time you shall be arraigned on the indictment or

information. Upon arraignment, your case will be assigned to a Iudge of this Court, before whom you must be prepared to appear the afternoon of
the same day and enter a plea.

 

. If you have retained your own attomey, he or she must be present with you on the date ordered above. If you do not have an attorney, an attorney

will be appointed to represent you at the time, provided you are without sufficient funds to retain a private attorney.

IF YOU FAIL TO APPEAR AT THE DATE, TIME AND PLACE INDICATED, YOUR PRESENT BOND WILL BE FORFEITED
AND THE COURT WILL ISSUE A WARRANT FOR YOUR ARREST.

NOTE: Your case may be assigned for further proceedings in a division different from the one indicated above. If so, a notice will be mailed to
you and your attorney, therefore, keep in close contact with your attorney so you will no¥ wdste time and effort by going to the wrong location.

 
 

Filed & Dated: / LO Y~- 0 7 BY:

 

6 re Courtroom Deputy Clerk

 

M-62 (01/07)

NOTICE DIRECTING DEFENDANT TO APPEAR FOR ARRAIGNMENT ON INDICTMENT/INFORMATION

Page | of |
